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 3
                                 IN THE UNITED STATES DISTRICT COURT
 4
                                    EASTERN DISTRICT OF CALIFORNIA
 5

 6   UNITED STATES OF AMERICA,                          CASE NO. 1:12-CR-000418 AWI-BAM

 7                                Plaintiff,            ORDER CONTINUING HEARING ON
                                                        DEFENDANT’S MOTION TO SUPPRESS
 8                          v.
                                                        DATE: August 4, 2014
 9   ENRIQUE RODRIGUEZ,                                 TIME: 10:00 a.m.
                                                        COURT: Hon. Anthony W. Ishii
10                               Defendant.

11

12          The United States of America, by and through BENJAMIN B. WAGNER, United States

13 Attorney, and KATHLEEN A. SERVATIUS, Assistant United States Attorneys, and the defendant

14 ENRIQUE RODRIGUEZ, by and through his attorney of record, DAVID A. TORRES, having

15 stipulated to continue the hearing on the defendant’s motion to suppress (originally set for July 21, 2014

16 and continued to August 4, 2014) to the date of August 18, 2014 at 10:00 a.m., and further agreeing that

17 the government’s response to the defendant’s motion shall be filed on or before August 4, 2014, and any

18 reply by the defendant be filed on August 11, 2014;

19          IT IS SO ORDERED.

20          IT IS FURTHER ORDERED that for the purpose of computing time under the Speedy Trial Act,

21 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of August 4, 2014 to

22 August 18, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(1)(D).

23 IT IS SO ORDERED.

24 Dated: July 23, 2014

25                                              SENIOR DISTRICT JUDGE

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      ORDER CONTINUING HEARING ON DEFENDANT’S            1
      MOTION TO SUPPRESS
